EXHIBIT 59
EXHIBIT 60
EXHIBIT 61
                            9595                             O VOID                     o CORRECTED
PAYER'S name, street address, city or 100'm , province or stale, country, ZIP or foreign postal code, and
leielt"<rero.                                                                                               1 Rents                       OMB No. 1545·0 11 5

 WonderWork, Inc.
                                                                                                            $                                                                  Miscellaneous
                                                                                                                                                ~(Q)13
 420 5TH AVE
 27th floor                                                                                                 2 Royalties                                                               Income
 NEW YORK, NY 10018
 (212)729-1855x103                                                                                          $                             Form    1099-MISC
                                                                                                            3 Othe r income               4 Federal income tax withheld
                                                                                                                                                                                            Copy A
                                                                                                            $                             $                                                     For
 PAYER'S federal identification number                   REC IPIENT'S identification numbe r                5 Fishing boat proceeds       6 Medical and health care paymenls       Internal Revenue
                                                                                                                                                                                     Service Center

 XX-XXXXXXX                                                                                                 $                             $                                        File with Form 1096.
 REC IPIENT'S name                                                                                          7 Nonemployee compensation     8 Substitute payments in lieu
                                                                                                                                               of dividends or interest             For Privacy Act
 Jones Day                                                                                                                                                                           and Paperwork
                                                                                                                                                                                      Reduction Act
 Street address (including apt. no.)                                                                        $     245357.45               $                                          Notice, see the
                                                                                                             9 Payer made direct sales of 10 Crop insurance proceeds
                                                                                                                                                                                      2013 General
 22 2 East 41st Street                                                                                         S5,000 or more of consumer
                                                                                                               products to a buyer                                                 Instructions for
 City or town , province or state , country, and ZIP or foreign postal code                                    (recipient) for resale ~ O $                                                  Certain
                                                                                                            11 Foreign tax paid           12 Foreign oountJy or U.S. possession        Information
 NY, NY 10017-6702
                                                                                                            $                                                                              Returns.
 Account number (see instructions)                                                             2nd TIN not. 13 Excess golden parachute    14 Gross proceeds paid to an
                                                                                                               payments                      attomey

                                                                                                    D       $                             $                                                                 Cl
15a Section 409A deferrals                               15b Section 409A income                            16 State tax withheld         17 State/Payer's state no.              18 State income           z
                                                                                                            .$....... . . . .. . . . ... --------- --- ----- -- ~ ... . . . .. . . . ...                    ~
$                                                       $                                                    $                                                  $                                           «
Form   1099-MISC                                                                                                                                                                        38·2099803          :a:
                                                                                                                                              Department of the Treasury· Internal Revenue Service
    Do Not Cut or Separate Forms on This Page
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                             9595                            OVO ID                      o CO RRECTED                                                                                                       ::c
 PAYER'S name, street address, city or town, province or slale. country, ZIP or loreign postal code, and
 leielt"<rero.                                                                                               1 Rents                       OMB No. 1545·0115                                                u
 WonderWork, Inc.
                                                                                                            $                                                                     Miscellaneous
                                                                                                                                                                                                            ;:w
                                                                                                                                                ~(Q) 13
 42 0 5TH AVE
 27th floor                                                                                                  2 Royalties                                                                 Income             C
 NEW YORK, NY 10018
 (212)729-1855x103                                                                                          $                             Form    1099-MISC
                                                                                                             3 Other income                4 Federal income tax withheld
                                                                                                                                                                                            Copy A
                                                                                                            $                             $                                                     For
 PAYER'S federal identification number                    RECIPIENT'S identification number                  5 Fishing boat proceeds       6 MedcaI and health care paymenls       Internal Revenue
                                                                                                                                                                                      Service Center

 2 7-4159217
                                                                                                            $                             $                                        File with Form 1096.
 RECIPIENT'S name                                                                                            7 Nonemployee compensation    8 Substitute payments in lieu
                                                                                                                                             of dividends or interest               For Privacy Act
 Kaplan              &    Levenson P.C.                                                                                                                                              and Paperwork
                                                                                                                                                                                      Reduction Act
 Street address (including apt. no.)                                                                        $          2424.50            $                                          Notice, see the
                                                                                                             9 Payer made di rect sales of 10 Crop insurance proceeds
                                                                                                               S5,000 or more of consumer
                                                                                                                                                                                      2013 General
 630 Third Avenue, 5th floor
                                                                                                               products to a buyer                                                 Instructions for
 City or town , province or state, country, and ZIP or foreign postal code                                     (recipient) for resale ~ O $                                                  Certain
                                                                                                            11 Foreign tax paid           12 Foreign oountJy or U.S. possesson         Information
 New York, NY 10017-6705                                                                                    $                                                                              Returns.
 Account number (see instructions)                                                             2nd TIN not. 13 Excess golden parachute    14 Gross proceeds paid to an
                                                                                                               payments                      attomey

                                                                                                    D       $                             $
15a Section 409A deferrals                               15b Section 409A income                            16 State tax withheld         17 State/Payer's state no.              18 State income
                                                                                                                                                                                                            c
                                                                                                            .$. ... . . . . . ....... . . ------------------- ~ . . .. . . . .......                        W
                                                                                                                                                                                                            II..
$                                                       $                                                    $                                                $                                             (J)

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Form    1099-MISC                                                                                                                                                                       38·2099803
                                                                                                                                              Department of the Treasury· Internal Revenue Service
                                                                                                                                                                                                            ID




                                                                                                                                                                                   WON-EX 1942
EXHIBIT 62
EXHIBIT 63
EXHIBIT 64
EXHIBIT 65
Brian Mullaney      $475,000.00                2011‐ $275k
                                               e‐mail 1/4/12 $295k
                                               board approved at $475k 6/22/12 per bm e‐mail 6/22/12
Dec.2011             275,000.00
Calendar 2011       $275,000.00                                                    notes                                                                                                            $237,500
                                                                                                                                    137,500.00                                         $295,000     $475,000
Jan.12                24,583.33
Feb.12                24,583.33                                                     BM Salary                                  fiscal year       calendar year                                      increase    difference
Mar.12                24,583.33                                                                                12/15/2011             275,000.00
Apr.12                24,583.33                                                                                 1/15/2012              24,583.33                                        24,583.33   39,583.33     15,000.00
May.12                24,583.33                                                                                 2/15/2012              24,583.33                                        24,583.33   39,583.33     15,000.00
June.12               24,583.33                                                                                 3/15/2012              24,583.33                                        24,583.33   39,583.33     15,000.00
June.12              190,000.00 additional salary per 6/22/12 bod meeting                                       4/15/2012              24,583.33                                        24,583.33   39,583.33     15,000.00
FY12                $612,499.98                                                                                 5/15/2012              24,583.33                                        24,583.33   39,583.33     15,000.00
                                                                                                                6/15/2012              24,583.33                                        24,583.33   39,583.33     15,000.00
                                                                                                   Total for the fiscal year          422,499.98
                                                                                                             Calendar year                                                             147,499.98             90,000.00
                                                                                                                                                                                       137,500.00   $237,500 100,000.00
                                                                                                                                                                                                             190,000.00
July.12               39,583.33
Aug.12                39,583.33
Sep.12                39,583.33
Oct.12                18,750.03    20,833.30 less $3500 for camera
Nov.12                     0.00    39,583.33
Dec.12                     0.00    39,583.33
Calendar 2012       $475,000.00

Jan.13                56,916.63 include holdover per BM e‐mail 1/2/13
Jan.13 additional     79,166.66 Nov.12 and Dec.12 catch up e‐mail 1/2/13
Feb.13                39,583.33
Mar.13                39,583.33                                                    NOTES
April.13              39,583.33 hold at $475k per e‐mail  4/4/13
Mar.13                39,583.33
Jun.13                39,583.33                                                     7/1/2013 Board bonus                            250,000.00 e‐mail TD
FY13                $471,499.96                                                     7/1/2013 impact loan                            250,000.00

Jul.13                39,583.33                                                     1/6/2014 deduct the $22,000 from my impact loan to $228,000. 
Aug.13                39,583.33
Sep.13                39,583.33                                                     1/6/2014                                        ‐22,000.00 e‐mail BM
Oct.13                22,250.07    17,333.26                                                    remaining                           228,000.00
Nov.13                     0.00    39,583.33
Dec.13                     0.00    39,583.33       96,499.92 paid in Jan 2014       7/1/2013 Board bonus                            250,000.00    e‐mail TD
Calendar 2013       $475,000.00                                                     1/6/2014 personal reimbursement                 ‐22,000.00    e‐mail BM 1/6/14
                                                                                    1/6/2014 remaining                              228,000.00
Bonus 7/1/13                      250,000.00                       0.00             4/5/2014                 4/5/2014               ‐30,000.00    about 50% weekly travel FY14, FY15
Jan.14               114,170.19 ‐22,000.00                   114,170.19                                                             ‐10,000.00    annual        visits
Jan.14 additional     21,913.06                 $136,083.25 136,083.25
Feb.14                39,583.33
Mar.14                39,583.33 ‐78,000.00 deducted per 4/5/14                                                                       ‐38,000.00 additional contribution
Apr.14               189,583.33 includes $150k bonus per 4/5/14 e‐mail
May.14                39,583.33                                                                 remaining bonus                     150,000.00 paid 4/15/14
Jun.14                30,583.43      8,999.90 remaining
FY14                $616,000.06                                                                 given back                          ‐100,000.00
                                                                                                BM
Jul.14                     0.00    39,583.33                                                    Jun.14                                8,999.90
Aug.14                     0.00    39,583.33                                                    Jul.14                               39,583.33
Sep.14                     0.00    39,583.33                                                    bonus                               250,000.00 see e‐mail from JJ 10.21.14



                                                                                                                                                                                                      running total for payroll
                                                                                                                                                                                                                       1 OF 11
                                                                                                                                                                                                         WW_EMAIL0011552
bonus per 10/21/14                    250,000.00                                    Aug.14                39,583.33
per e‐mail 10/1/14                     ‐1,000.00                                    Sep.14                39,583.33
Oct.14                         0.00    39,583.33                                    Oct.14                38,583.33    per e‐mail 10/1/14                                        ‐1,000.00
per e‐mail 10/21/14                   ‐50,000.00                                    10/21/14email        ‐50,000.00    10/21/14email
Nov.14                        0.00     39,583.33                                    Nov.14                39,583.33
Dec. 14                       0.00     39,583.33    445,499.88                      Dec.14                39,583.33
Calendar 2014          $475,000.00                                                                       445,499.88
                                                                                    Jan. 15               39,583.33
Jan.15                  $50,000.00 ‐$10,416.67                                                           485,083.21
1/8/2015                               ‐2,274.09 holiday dinner                     Jan.15               ‐50,000.00    payroll
2/9/2015                               ‐1,300.00 MAB dinner                                              435,083.21
Feb.15                   39,583.33 $431,509.12 end of Jan 15                        1/8/15 email          ‐2,274.09    holiday dinner
Feb.14 additional       385,416.67 to bring calendar year to $475k                  2/9/15 email          ‐1,300.00    MAB dinner
                                     $46,092.45 balance as of Feb.15                                     431,509.12
Mar.15                        0.00    39,583.33                                     Feb. 14               39,583.33
Apr.15                        0.00    39,583.33      ‐29,000.00 april 2015 emails                        ‐39,583.33    paid 2/13/15
May.15                        0.00    39,583.33       ‐5,000.00 5/6/15 e‐mail       paid in Feb          385,416.67    to bring calendar 2015 to 475,000
Jun.15                        0.00    39,583.33       ‐2,652.17 6/3/15 e‐mail       remaining             46,092.45
FY15                   $475,000.00 $204,425.77 $167,773.60 balance as of 6/15/15    as of the
                                                                                    end of Feb.15
Jul.15                        0.00     39,583.33   $207,356.93                      Mar.15                39,583.33
Aug.15                        0.00     39,583.33   $246,940.26                      Apr.15                39,583.33
Sep.15                        0.00     39,583.33   $285,173.59                                           125,259.11
Oct.15                        0.00                                                                        ‐6,000.00    4/20/15 per mb for writer
Nov.15                        0.00                                                                        ‐3,000.00    4/20/15 per mb for Photoshop lessons
Dec.15                        0.00                                                                       116,259.11    as of 4/20/15
Calendar 2015          $475,000.00                                                                       ‐20,000.00    e‐mail 4/21/15 June           trip
                                                                                    May.15                39,583.33
Jan.16                                                                                                    ‐5,000.00    e mail 5/6/15 $‐5,000 for camera equipment
Feb.16                                                                                                   130,842.44
Mar.16                                                                                                    ‐2,652.17    e‐mail 6/3/15 skyline deductions
Apr.16                                                                              June.15               39,583.33
May.16                                                                                                   167,773.60    June Board 2015 meeting reduction of $150k not included
Jun.16                                                                              July.15               39,583.33
FY16                         $0.00                                                                       207,356.93
                                                                                    Aug.15                39,583.33
                                                                                                         246,940.26
                                                                                    Sep.15                39,583.33
                                                                                                          ‐1,350.00    e‐mail 9/23/15
Taken to date                                                                       owed                 285,173.59    Sep.15
Calendar 2011          $275,000.00
Calendar 2012          $475,000.00
Calendar 2013          $475,000.00                                                  Given back to date   ‐266,445.86
Calendar 2014          $475,000.00
Calendar 2015          $475,000.00
                      $2,175,000.00


owed                    285,173.59


Given back to date      ‐266,445.86




                                                                                                                                                                                             running total for payroll
                                                                                                                                                                                                              2 OF 11
                                                                                                                                                                                                WW_EMAIL0011552
Date        Amount
  8/28/2012   ‐3,500.00 camera

    1/6/2014    ‐22,000.00   deduct the $22,000 from my impact loan to $228,000. 
    4/5/2014    ‐30,000.00   about 50% weekly travel FY14, FY15
                ‐10,000.00   annual          visits
                ‐38,000.00   additional contribution
               ‐100,000.00

  10/1/2014      ‐1,000.00 per email 10/1/14

 10/21/2014     ‐50,000.00 10/21/14 e‐mail

1/8/15 email     ‐2,274.09 holiday dinner

    2/9/2015     ‐1,300.00 MAB dinner

                                   ‐5,750.00

                                   ‐6,080.22 did not deduct expenses for writer on India trip 
                                             awaiting confirmation and amount
  2/23/2015                       ‐58,539.38 did not deduct Greg S legal bills yet ‐ awaiting discussion
                 ‐70,369.60
   2/23/2015 did not deduct Greg S legal bills yet ‐ awaiting discussion
I was able to go through all of Joe Vogel’s invoices to‐date and came up with $58,539.38 for invoices related to Ferris.
We can go through all of the invoices in detail when you return
                 ‐29,000.00 april 2015 emails
                  ‐5,000.00 5/6/15 e‐mail
                       0.00 6/3/15 e‐mail
                             Skyline
    6/3/2015      ‐2,652.17 deduct entire amount from my pay and continue to do entire amount going forward. 

e‐mail 9/23/15 ‐1,350.00 e‐mail 9/23/15
total todate ‐266,445.86




                                                                                                                                        given back notes
                                                                                                                                                 3 OF 11
                                                                                                                           Copy of WW_EMAILS0011552.xlsx
Owed to WW
Expense              Detail                                                   Date        Notes
 $       4,934.26    Eve Claxton ‐ BA flight; Jet Airways; Air India flight   1/15/2015
 $          945.19   Eve Claxton ‐ Imperial Hotel ‐ India Trip                 02/25/15
 $          200.77   Eve Claxton ‐ ITC Maurya Hotel ‐ India Trip               03/01/15




$       6,080.22

Owed to BM
Expense            Detail                                                                 Notes
 $          250.00 India Trip ‐ Miscellaneous Expenses                        2/25‐3/1




$          250.00

Difference
$       5,830.22




                                                                                                                      FY15 misc
                                                                                                                        4 OF 11
                                                                                                  Copy of WW_EMAILS0011552.xlsx
Owed to WW
Expense               Detail                                        Date       Notes
 $            92.39   Four Seasons Dinner                           10/01/14   personal friend
 $          653.27    Four Seasons Dinner                           03/01/14   John Mannix Dinner/Mtg.
 $          177.82    Postage (certified letters)                   01/31/14   ST UK Legal
 $            73.99   Harvard Club Meeting                          01/14/14
 $            25.00   Taxi                                          01/02/14   Taxi with Maura
 $       1,022.47

Owed to BM
Expense               Detail                                                   Notes
 $            25.00   Misc Taxis and Tips Pecos Trip                12/17/15   Dec 16‐17
 $          350.00    Misc Taxis and Tips Africa Trip               12/05/14   Dec 1‐6
 $            25.00   Misc Taxis and Tips Pecos Trip                10/16/14   Oct 15‐16
 $          100.00    Misc Taxis and Tips Houston/California Trip   09/18/14   Sept 15‐18
 $            75.00   Misc Taxis and Tips California Trip           05/29/14   May 27‐29
 $            50.00   Misc Taxis and Tips Houston Trip              02/18/14   Feb 17‐Feb 18
 $          400.00    Misc Taxis and Tips India Trip                01/30/14   Jan 30‐Feb 5
 $          100.00    Misc Taxis and Tips Zurich Trip               01/09/14   Jan 7‐Jan 9
 $       1,125.00

 Difference
 $         (102.53)




                                                                                                                             FY14 misc
                                                                                                                               5 OF 11
                                                                                                         Copy of WW_EMAILS0011552.xlsx
Owed to WW                                        2013
Expense                 Detail                                              Date          Notes
 $       1,009.00       Office holiday dinner                                12/9/2013
 $          132.50      Skyline ‐ Michael Bianco ‐ ride to Huntington       11/12/2013
 $     15,000.00        4 Seasons Donor Dinner                               11/5/2013
 $          233.14      PIER 77             CAPE PORPOISE       ME             07/24/13   Haefner Trip
 $          172.66      HURRICANE RESTAURANTKENNEBUNKPORT       ME             07/23/13   Haefner Trip
 $             44.00    TAJ BOSTON HOTEL 167BOSTON              MA             07/23/13   Haefner Trip
 $          318.96      TAJ BOSTON HOTEL 167BOSTON              MA             07/23/13   Haefner Trip
 $             15.46    HUDSON NEWS  BOSTON EAST BOSTON         MA             07/22/13   Haefner Trip
 $               9.00   PORT AUTHORITY      BOSTON              MA             07/22/13   Haefner Trip
 $          378.86      W BOSTON DINE W BOSTBOSTON              MA             07/22/13   Haefner Trip
 $          150.76      BOSTON DUCK TOURS   BOSTON              MA             07/18/13   Haefner Trip
 $          495.15      TICKETMASTER ‐ Blue Man Group                          07/15/13   Haefner Trip
 $          866.70      THE WHITE BARN INN  KENNEBUNK           ME             07/10/13   Haefner Trip
 $       1,043.25       THE WHITE BARN INN  KENNEBUNK           ME             07/10/13   Haefner Trip
 $             69.49    CROSS SOUND FERRY WENEW LONDON          CT             07/09/13   Haefner Trip
 $             59.44    Fedex ‐ STUK ‐ Attorney General                        06/10/13
 $             71.44    Fedex ‐ STUK ‐ Charity Commission                      06/10/13
 $             56.95    Fedex ‐ STUK ‐ Andrew Redpath                          06/07/13
 $             20.97    Fedex ‐ STUK ‐ Robert Smits                            04/17/13
 $             20.97    Fedex ‐ STUK ‐ Michael Dowling                         04/17/13
 $             44.55    Fedex ‐ STUK ‐ Elaine Bell Long                        04/10/13
 $          130.76      Fedex ‐ STUK ‐ Hillary Brown                           04/10/13
 $          116.75      Fedex ‐ STUK ‐ Eduardo Monopoli                        04/10/13
 $          298.30      Hotel in Newton, MA for             Trip               02/01/13
 $          320.39      Rudy's Donna Winston                                   01/01/13
 $             99.00    Rudy's Cricket bday                                    01/01/13
 $          242.09      Rudy's Cricket bday                                    01/01/13
 $          285.00      Dinner portion with friends in Chicago Park Hyatt      01/01/13
 $       2,463.02       Corinthia Hotel portion for London Trip                11/01/12   450pounds/night=$720x3 US
 $     24,168.56

Owed to BM                                        2013


                                                                                                                                           FY13.14
                                                                                                                                           6 OF 11
                                                                                                                      Copy of WW_EMAILS0011552.xlsx
Expense                Detail                                                          Notes
 $             92.00   Taxi from Logan Airport to Needham (Houston Trip)   12/18/2013
 $          200.00     Misc Taxis and Tips India Trip                       9/25/2013
 $             40.00   Misc Taxis DC Trip (                  Meeting)        05/23/13
 $          368.00     Golf with JJ Coneys and Donor Prospect,               04/26/13
 $          200.00     Misc Taxis and Tips India Trip                        03/01/13
 $             50.00   Misc Taxis and Tips Chicago Trip                      01/01/13
 $             50.00   Misc Taxis and Tips LA Trip                           01/01/13
 $          150.00     Misc Taxis and Tips Switzerland Trip                  12/01/12
 $          100.00     Misc Taxis and Tips LA Trip                           12/01/12
 $          250.00     Misc Taxis and Tips Nepal/India Trip                  10/01/12
 $          200.00     Misc Taxis in London                                  10/01/12 125pounds
 $          555.50     Golf with                                             09/01/12
 $       2,255.50

 Difference
 $     24,168.56 Owed to WW
 $      (2,255.50) Owed to BM
 $     21,913.06 owed to WW for 2013

Owed to WW                                           2014
Expense                Detail                                              Date        Notes
 $          653.27     Four Seasons Dinner                                    03/01/14              Dinner/Mtg.
 $          177.82     Postage (certified letters)                            01/31/14 ST UK Legal
 $             73.99   Harvard Club Meeting                                   01/14/14
 $             25.00   Taxi                                                   01/02/14 Taxi with 
 $          930.08

Owed to BM
Expense                Detail                                                         Notes
 $             50.00   Misc Taxis and Tips Houston Trip                      02/18/14 Feb 17‐Feb 18
 $          400.00     Misc Taxis and Tips India Trip                        01/30/14 Jan 30‐Feb 5
 $          100.00     Misc Taxis and Tips Zurich Trip                       01/09/14 Jan 7‐Jan 9
 $          550.00


                                                                                                                                       FY13.14
                                                                                                                                       7 OF 11
                                                                                                                  Copy of WW_EMAILS0011552.xlsx
Difference
$          380.08 Owed to WW 2014

$     22,293.14 Owed to WW through 2013

$   (22,000.00) deducted from Impact Loan 1/6/14
$  228,000.00 remaining Impact Loan




                                                                        FY13.14
                                                                        8 OF 11
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All transactions for Skyline Credit Ride Inc.
   Date             Type      No.           Payee              Category       Total
2015-04-10   Bill          771584   Skyline Credit Ride Inc. Transportation      22.55
2015-03-27   Bill          770077   Skyline Credit Ride Inc. Transportation      31.78
2015-03-20   Bill          769381   Skyline Credit Ride Inc. Transportation      58.22
2015-02-27   Bill          767090   Skyline Credit Ride Inc. Transportation     148.94
2015-02-20   Bill          766351   Skyline Credit Ride Inc. Transportation     100.97
2015-02-13   Bill          765604   Skyline Credit Ride Inc. Transportation      23.58
2015-02-06   Bill          764890   Skyline Credit Ride Inc. Transportation     221.09
2015-01-30   Bill          764094   Skyline Credit Ride Inc. Transportation     134.28
2015-01-23   Bill          73401    Skyline Credit Ride Inc. Transportation      43.67
2015-01-16   Bill          762674   Skyline Credit Ride Inc. Transportation      57.91
2015-01-09   Bill          762017   Skyline Credit Ride Inc. Transportation     118.39
2014-12-26   Bill          760605   Skyline Credit Ride Inc. Transportation     155.80
2014-12-19   Bill                   Skyline Credit Ride Inc. Transportation     409.80
2014-12-12   Bill          758972   Skyline Credit Ride Inc. Transportation      90.71
2014-11-28   Bill          757308   Skyline Credit Ride Inc. Transportation      26.65
2014-11-21   Bill          756528   Skyline Credit Ride Inc. Transportation      69.39
2014-11-14   Bill          755724   Skyline Credit Ride Inc. Transportation      25.63
2014-11-07   Bill          754930   Skyline Credit Ride Inc. Transportation      42.03
2014-10-31   Bill          754022   Skyline Credit Ride Inc. Transportation      45.51
2014-10-24   Bill          753214   Skyline Credit Ride Inc. Transportation      57.91
2014-10-17   Bill          752438   Skyline Credit Ride Inc. Transportation      26.65
2014-10-03   Bill          750863   Skyline Credit Ride Inc. Transportation     100.76
2014-09-19   Bill          749141   Skyline Credit Ride Inc. Transportation     203.98
2014-09-10   Bill          748405   Skyline Credit Ride Inc. Transportation     179.69
2014-08-15   Bill          745881   Skyline Credit Ride Inc. Transportation     121.56 FY15
2014-07-15   Bill          743743   Skyline Credit Ride Inc. Transportation      40.59   2,558.04

2014-06-30   Bill          742535   Skyline Credit Ride Inc. Transportation      29.73
2014-06-15   Bill          741466   Skyline Credit Ride Inc. Transportation     161.34
2014-05-31   Bill          740251   Skyline Credit Ride Inc. Transportation     299.10
2014-05-15   Bill          739105   Skyline Credit Ride Inc. Transportation      30.75
2014-04-30   Bill          737925   Skyline Credit Ride Inc. Transportation      46.95
2014-04-15   Bill          736810   Skyline Credit Ride Inc. Transportation     311.52
2014-03-15   Bill          734484   Skyline Credit Ride Inc. Transportation     147.81
2014-02-28   Bill          733248   Skyline Credit Ride Inc. Transportation     190.14
2014-01-31   Bill          730933   Skyline Credit Ride Inc. Transportation     127.93
2014-01-15   Bill          729861   Skyline Credit Ride Inc. Transportation      30.75
2013-12-31   Bill          728510   Skyline Credit Ride Inc. Transportation      88.46
2013-12-15   Bill          727334   Skyline Credit Ride Inc. Transportation      86.10


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All transactions for Skyline Credit Ride Inc.
   Date             Type      No.           Payee              Category        Total
2013-11-30   Bill          726127   Skyline Credit Ride Inc. Transportation      382.44
2013-11-15   Bill          725001   Skyline Credit Ride Inc. Transportation      111.11
2013-10-15   Bill          722610   Skyline Credit Ride Inc. Transportation       26.65
2013-09-15   Bill          720285   Skyline Credit Ride Inc. Transportation       30.75
2013-08-31   Bill          719186   Skyline Credit Ride Inc. Transportation       78.52 FY14
2013-07-31   Bill          716939   Skyline Credit Ride Inc. Transportation       33.21   2,213.26

2013-06-30   Bill          714621   Skyline Credit Ride Inc. Transportation       53.30
2013-05-31   Bill          712237   Skyline Credit Ride Inc. Transportation       59.04
2013-05-15   Bill          711095   Skyline Credit Ride Inc. Transportation      104.55
2013-04-15   Bill          708640   Skyline Credit Ride Inc. Transportation       97.68
2013-03-31   Bill          707368   Skyline Credit Ride Inc. Transportation      115.82
2013-03-15   Bill          706191   Skyline Credit Ride Inc. Transportation      123.08
2013-02-15   Bill          703778   Skyline Credit Ride Inc. Transportation       26.52
2013-01-31   Bill          702483   Skyline Credit Ride Inc. Transportation      122.71
2013-01-15   Bill          701322   Skyline Credit Ride Inc. Transportation       27.54
2012-12-15   Bill          698704   Skyline Credit Ride Inc. Transportation       84.25
2012-11-15   Bill          696163   Skyline Credit Ride Inc. Transportation       23.46
2012-10-31   Bill          69485    Skyline Credit Ride Inc. Transportation       23.46
2012-10-15   Bill          693577   Skyline Credit Ride Inc. Transportation      108.63
2012-09-30   Bill          692201   Skyline Credit Ride Inc. Transportation       37.74
2012-08-15   Bill          688702   Skyline Credit Ride Inc. Transportation       22.44 FY13
2012-07-15   Bill          686171   Skyline Credit Ride Inc. Transportation       22.44   1,052.66

2012-06-15   Bill          683631   Skyline Credit Ride Inc. Transportation       96.90
2012-05-15   Bill          680941   Skyline Credit Ride Inc. Transportation      200.18
2012-05-14   Bill          679556   Skyline Credit Ride Inc. Transportation      130.56
2012-04-15   Bill          678335   Skyline Credit Ride Inc. Transportation       26.52
2012-02-15   Bill          673240   Skyline Credit Ride Inc. Transportation       76.50
2012-01-31   Bill          671854   Skyline Credit Ride Inc. Transportation       72.93 FY12
2011-12-15   Bill          667975   Skyline Credit Ride Inc. Transportation       24.39    627.98

2011-06-30   Bill          653371   Skyline Credit Ride Inc. Transportation       25.50
2011-06-15   Bill          652129   Skyline Credit Ride Inc. Transportation      196.24
2011-05-31   Bill          650578   Skyline Credit Ride Inc. Transportation      108.10
2011-03-31   Bill          645320   Skyline Credit Ride Inc. Transportation      104.78
2011-02-28   Bill          642707   Skyline Credit Ride Inc. Transportation      104.78 FY11
2011-02-15   Bill          641252   Skyline Credit Ride Inc. Transportation      345.22     884.62
                                                                              7,336.56    7,336.56



                                                                                                                           Sheet1
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All transactions for Skyline Credit Ride Inc.
   Date        Type         No.              Payee   Category   Total
            FY15          2,558.04 to date
            FY14          2,213.26
            FY13          1,052.66
            FY12            627.98
            FY11            884.62
                          7,336.56




                                                                                              Sheet1
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